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IN THE UNITED STATES DISTRICT COURT JUN 15 2020 ©: 3
FOR THE NORTHERN DISTRICT OF GEORGIA JAMES N.HATTEN, Clerk
ATLANTA DIVISION By: Deputy Clerk
| RD Dion)
YAMAN F. TAYLOR § Civil Action File, No... ,
§
Plaintiff, §
§
V. §
DOMINO’S PIZZA, LLC § 1:20-CV- 253 l
Defendants § .
INTRODUCTION

1. YAMANF. TAYLOR, (referred to as “Plaintiff’) bring this action for damages,
and any other available legal or equitable remedies, resulting from the illegal
actions of DOMINO’S LLC., and its related entities, subsidiaries and agents in
negligently, knowingly, and/or willfully contacting Plaintiffs on Plaintiffs’ cellular
telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227
et seq. (“TCPA”), thereby invading Plaintiffs’ privacy.

_ 2, Defendant Domino’s has violated the TCPA by contacting the Plaintiff on his
cellular telephone via an “automatic dialing system,” and/or “ automated or
prerecorded messages” as defined by 47 U.S.C § 227(a)(1), without prior express

consent within the meaning of the TCPA and also violated 47 U.S.C. § 227( c)(5),
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whereas Plaintiff has received more than one telephone call within a 12-month
period by or on behalf of the same entity in violation of the regulations prescribed
under this subsection.

3. The TCPA was designed to prevent calls like the ones described within this
complaint, and to protect the privacy of citizens like Plaintiffs. “Voluminous
consumer complaints about abuses of telephone technology — for example,
computerized calls dispatched to private homes — prompted Congress to pass the
TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 §. Ct. 740,

744 (2012).

4. In enacting the TCPA, Congress intended to give consumers a choice as to how
creditors and telemarketers may call them, and made specific findings that
“{t]echnologies that might allow consumers to avoid receiving such calls are not
universally available, are costly, are unlikely to be enforced, or place an inordinate
burden on the consumer. TCPA, Pub. L. No. 102-243, § 11. Toward this end,
Congress found that:

[b]anning such automated or prerecorded telephone calls to the home, except when
the receiving party consents to receiving the call or when such calls are necessary
in an emergency situation affecting the health and safety of the consumer, is the
only effective means of protecting telephone consumers from this nuisance and
privacy invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, No. 11-C-

5886, 2012 WL 3292838, at *4 (N.D. Til. Aug. 10, 2012) (citing Congressional

findings on TCPA’s purpose).
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5. Congress also specifically found that “the evidence presented to the Congress _
indicates that automated or prerecorded calls are a nuisance and an invasion of
privacy, regardless of the type of call...” Id. at §§ 12-13. See also Mims, 132 S. Ct.
at 744.

6. Text messages are “calls” within the context of the TCPA. See...Satterfield v.

Simon & Schuster, Inc., 569 F.3d (9" Cir. 2009).

JURISDICTION & VENUE
7. Jurisdiction arises under the TCPA, pursuant to 28 U.S.C. sections 1331 and

venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

PARTIES

8. YAMAN F. TAYLOR, is a natural person who was at all relevant times residing
in the city of Jonesboro, county of Clayton, state of Georgia.

9. Defendant Domino’s Inc., (hereinafter, “DOM”) is a domestic company with a
headquarters located at 30 Frank Lloyd Wright Drive, Ann Arbor, MI 48106.

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
(TCPA) 47 U.S.C § 227et seq,

10. In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices.

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11. The TCPA regulates, inter alia, the use of automated telephone equipment, or
“predictive-dialers”, defined as equipment which “has the capacity...(a) to store or
produce telephone numbers to be called, using a random or sequential number
generator; and (b) to dial such numbers. 47 U.S.C. § 227(a)(1). Specifically, the
plain language of section 227(b)(1)(A)(iii) prohibits the use of auto-dialers to make
any call to a wireless number in the absence of an emergency or the prior express
consent of the called party.’

12. According to findings by the Federal Communications Commission (FCC), the
agency Congress vested with authority to issue regulations implementing the |
TCPA, such calls are prohibited because, as Congress found, automated or

prerecorded telephone calls are nuisances.

13. The FCC also recognized that wireless customers are charged for incoming
calls whether they pay in advance or after the minutes are used.

14, The TCPA prohibits the use of automatic telephone dialing systems and the
prerecorded messages to call wireless devices. § 227(b) prohibits... the use of

automated telephone equipment; (1) Prohibitions...” It shall be unlawful for any

'Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991),
codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the Communications Act of
1934, 47 U.S.C. § 201 et seq. 7 47 U.S.C. § 227 (b)(1)(A)Gii).
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person within the United States or any person outside the United States if the
recipient is within the United States—...”

15. In addition to the restrictions on automated telephone equipment, the TCPA
instructs the FCC to issue regulations “concerning the need to protect residential
telephone subscribers’ privacy rights to avoid receiving telephone solicitations to
which they object.” 47 U.S.C. § 227(c)(1). Accordingly, the FCC issued
regulations prohibiting “person{s] or entit[ies] [from] initiat[ing] any call for
telemarketing purposes to a residential telephone subscriber unless [the] person or
entity has instituted [certain listed] procedures for maintaining” a do-not-call list.
47 C.F.R. § 64.1200(d). Relevant here, the regulations require the telemarketer to
(1) provide “the name of the individual caller, the name of the person or entity on
whose behalf the call is being made, and a telephone number or address at which
the person or entity may be contacted,” § 64.1200(d)(4); (2) maintain a do-not-call
list, § 64.1200(d)(6); and (3) honor a person’s request not to be called.

FACTUAL ALLEGATIONS

16. Plaintiff purchased a new phone in November of 2019 and started receiving
messages from Short Message Code #366466, belonging to the Defendant DOM
on his personal cellphone ending in 8081. Plaintiff placed his cellular phone
number on the National “Do-Not-Call” list in 2019, due to solicitation calls from

telemarketers, and other businesses. Plaintiff uses his cellular phone number as his
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primary residential number for personal, family, and household use. The Plaintiff
has never maintained a landline at his residence and uses his cell phone for setting
alarms, navigation purposes, sending/receiving emails, timing food when cooking,
sending/receiving text messages and exercising. The Plaintiff further has his cell
phone for her personnel accounts, and the phone is not primarily used for any
business purpose. All of the messages were impersonal and read:

“Domino’s: We see pizza in your future! $5.99 each for 2 or more mix and
match items. Code 9193 httpz://dpz.lo/q9p95z5Rb1.

“Domino’s: This deal is calling your name. Only $5.99 each for 2 or more
items! Code 9193 https://dpz.io/XG1 ps YWK82

“Domino’s: So many way to Mix & Match 2 or more items for just %5.99
each. Code 9193 https://dpz.io/WjgHjReWQz2.

17. The Defendant never contacted Plaintiff to obtain his express consent to
receive such texts messages to his wireless number.

18. On January 4"and February 3" 2020, Plaintiff sent a letter to the Defendant
asking for the calls/texts to stop. Plaintiff has received at least forty-three (43)
unsolicited calls/texts from the Defendant and continues to receive text messages
up until this very day.

19. Upon information and belief, all of the calls/texts Defendant placed to

Plaintiffs cellular phone were placed using an “automatic telephone dialing
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system” (hereinafter, “auto-dialer”), which has the capacity to store and send bulk
messages and to dial such numbers as specified by 47 U.S.C. § 227(a)(1)

20. Upon information and belief, the Defendant’s calls to Plaintiffs cellular
telephone utilizing an “artificial or prerecorded voice messaging system” violated
47 U.S.C, § 227(b)(1)(A).

21. Upon information and belief, the Defendant’s calls to Plaintiffs cellular
telephone violated 47 U.S.C. § 227(c)(5).

22. Upon information and belief, this ATDS has the capacity to store or produce
telephone numbers to be called, using a random or sequential number generator.
23. Upon information and belief, this ATDS has the capacity to store numbers on a
list and to dial numbers from a list without human intervention.

24. The impersonal and generic nature of the text messages that Defendant sent to
Plaintiff demonstrate that Defendant used an ATDS to send the subject text
messages.

25. Upon information and belief, Defendant used a combination of hardware and
software systems which have the capacity to generate or store random or sequential
numbers or to dial sequentially or randomly in an automated fashion without

human intervention.
26. Upon information and belief, Defendant used a device to send the subject text

messages to Plaintiff that stores numbers and dials them automatically to a
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stored list of phone numbers as part of scheduled campaigns.
27. This text message constituted a call that was not for emergency purposes as
defined by 47 U.S.C. § 227(b)(1)(A)(i).
28, Plaintiff has never provided his cellular phone number to the Defendant or
given his prior express consent to be called, whether on her own or on behalf of
any third party.
29. Plaintiff suffered a concrete and real invasion of Plaintiff's legally protected
privacy rights through Defendant’s violation of the TCPA. The continuous
unwarranted phone calls caused the Plaintiff harassment.
CAUSE OF ACTION COUNT I

VIOLATIONS OF THE (“TCPA”), 47 U.S.C. SECTION 227, ET SEQ.
30. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
31. Using an auto-dialer and without prior express written consent, the Defendant
texted the Plaintiff at least forty-three (43) times by means of automatic texting
system to a cellphone or pager in violation of 47 U.S.C. §227(b)(1)(A)(iii).
32. As a result of Defendants violations of 47 U.S.C. § 227et seq., Plaintiff is
entitled to an award of a minimum of $500.00 in statutory damages for each call-in
violation of the statute pursuant to 47 U.S.C. § 227(b)(3).

CAUSE OF ACTION COUNT I-TCPA
VIOLATIONS OF THE (“TCPA”), 47 U.S.C. § 227(¢)(5)

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33. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
34. The forty-three (43) prerecorded automated phone calls were made to
Plaintiff's “residential number” which is listed on the “Do-Not-Call” registry and
did not reveal the entities on whose behalf they were made, did not provide contact
information for those entities, that Defendants failed to maintain records of his
requests to be placed on the do-not-call list and also failed to honor his do-not-call
request.
35. As a result of Defendants violations of 47 U.S.C. §227(c)(5), Plaintiff is
entitled to an award of a minimum of $1,500.00 in statutory damages for each
willful call-in violation of the statute pursuant to 47 U.S.C. § 227(c)(5).

| PRAYER FOR RELIEF
a) Asa result of the Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff is
entitled to statutory damages of $500.00 for each and every call in violation of the
statue, pursuant to 47 U.S.C. § 227(b)(3) if found willful and/or knowing
violations of the TCPA, 47 U.S.C. § 227et seq., Plaintiff seeks statutory damages
of $1500.00 for each and every call that violated the TCPA;
b) As a result of Defendant violations of , 47 U.S.C. § 227(c\(5), Plaintiff is
entitled to an award of $1,500.00 in statutory damages for violations of the do-not-

call list
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c) Assessing against Defendants, all costs incurred by the Plaintiff; and
d) Awarding such other relief as justice and equity may require.
Respectfully submitted,

Ee

/ Yaman F, Taylor
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